Case 2:21-cr-14016-AMC Document 9 Entered on FLSD Docket 06/08/2021 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                        Case Number 21-14016-CR-CANNON

 UNITED STATES OF AMERICA,

 vs.

 PAUL ALLAN ZELIAS,

                     Defendant.
 _ _ _ _ _ _ _ _ _ _/

                         DISMISSAL OF INDICTMENT

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave

 of Court, the United States for the Southern District of Florida hereby dismisses the

 Indictment against the Defendant Paul Allan Zelias.
                                                                                /




                                  By:   JUAN ANT   O GONZALE
                                        ACTING UNITED STATES ATTORNEY
